                      Case 1:20-cv-06574-KPF Document 10 Filed 11/09/20 Page 1 of 2




                                                                             MEMO ENDORSED
                                             THE CITY OF NEW YORK
JAMES E. JOHNSON                            LAW DEPARTMENT                               ROSEMARY C. YOGIAVEETIL
Corporation Counsel                             100 CHURCH STREET                               Phone: (212) 356-0877
                                                NEW YORK, NY 10007                                Fax: (212) 356-1148
                                                                                                ryogiave@law.nyc.gov


                                                                     November 9, 2020

        Via ECF
        Honorable Katherine Polk Failla
        United States District Court
        Southern District of New York
        40 Foley Square, Courtroom 618
        New York, New York 10007

                          Re:   C.P. o/b/o D.P. v. N.Y.C. Dep’t of Educ., 20-CV-6574 (KPF)

        Dear Judge Failla:

               I am an Assistant Corporation Counsel in the Office of the Corporation Counsel James E.
        Johnson, attorney for Defendant in the above-referenced action, wherein Plaintiffs seek
        attorneys’ fees, costs, and expenses in relation to legal work on an administrative hearing under
        the Individuals with Disabilities in Education Act, 20 U.S.C. § 1400 et seq (“IDEA”), and for
        their work in this action. I write to respectfully request an adjournment of approximately 30 days
        of the Initial Pre-trial Conference in this matter, presently scheduled for November 20, 2020
        (ECF Dkt. No. 5).

                This is Defendant’s first request to adjourn the Initial Pre-Trial Conference, and
        Plaintiffs’ counsel, Britton Bouchard of the Cuddy Law Firm, has consented to this request. The
        reasons for this request are two-fold: First, Defendant’s time to respond to the Complaint was
        previously extended by the Court to December 10, 2020. Second, I am in the process of
        reviewing relevant billing records and the underlying administrative hearing record in order to
        work toward settlement. The requested adjournment will provide the parties an opportunity to
        meet and confer in the hopes of resolving this matter without further judicial intervention.

              The parties are available on December 14-17, 20, and 21 for a rescheduled conference.
        Thank you for your consideration of this request.

                                                            Respectfully submitted,
                                                            ___/s/_______________
                                                            Rosemary C. Yogiaveetil
                                                            Assistant Corporation Counsels
          Case 1:20-cv-06574-KPF Document 10 Filed 11/09/20 Page 2 of 2




   cc:   Via ECF
         Britton Howard Bouchard
         Cuddy Law Firm P.L.L.C.
         5693 South Street Road
         Auburn, New York 13021
         Attorney for Plaintiffs




Application GRANTED. The initial pretrial conference scheduled for
November 20, 2020, is hereby ADJOURNED to December 15, 2020, at 10:00
a.m. At 10:00 a.m., the parties shall call (888) 363-4749 and enter
access code 5123533. Please note, the conference will not be available
prior to 10:00 a.m. The parties' pre-conference submissions (see Dkt.
#5), shall be due on or by December 10, 2020.

Dated:     November 9, 2020                 SO ORDERED.
           New York, New York




                                            HON. KATHERINE POLK FAILLA
                                            UNITED STATES DISTRICT JUDGE




                                        2
